Case 08-35653-KRH                       Doc 14234 Filed 10/11/19 Entered 10/11/19 13:51:13                                                     Desc
                                            Main Document    Page 1 of 2


    Richard M. Pachulski, Esq.                                                  Lynn L. Tavenner, Esq. (VA Bar No. 30083)
    Andrew W. Caine, Esq.                                                       Paula S. Beran, Esq. (VA Bar No. 34679)
    (admitted pro hac vice)                                                     TAVENNER & BERAN, PLC
    PACHULSKI STANG ZIEHL & JONES LLP                                           20 North Eighth Street, 2nd Floor
    10100 Santa Monica Boulevard, 13th Floor                                    Richmond, Virginia 23219
    Los Angeles, California 90067-4100                                          Telephone: (804) 783-8300
    Telephone: (310) 277-6910                                                   Telecopy: (804) 783-0178
    Telecopy: (310) 201-0760

             Counsel to Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust

                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                              RICHMOND DIVISION

    In re:                                                                   ) Case No. 08-35653 (KRH)
                                                                             )
    CIRCUIT CITY STORES, INC., et al., 1                                     ) Chapter 11
                                                                             )
                                               Debtors.                      ) (Jointly Administered)
                                                                             )
                                                                             )

                                   NOTICE OF MOTION AND HEARING THEREON

        PLEASE TAKE NOTICE that the Circuit City Stores, Inc. Liquidating Trust (the “Trust”),
through its Trustee, Alfred H. Siegel, has filed the Motion Of The Liquidating Trustee For Entry Of An
Order Further Extending Term Of Liquidating Trust (the “Motion”) with the United States Bankruptcy
Court for the Eastern District of Virginia (the “Bankruptcy Court”), a copy of which is simultaneously
being served upon you.

       Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney, you may
wish to consult one). Under the Case Management Order (as defined hereafter) and Local
Bankruptcy Rule 9013-1, unless a written response to the Motion is filed with the Clerk of Court and
served on the moving party within seven (7) days before the scheduled hearing date, the Court may
deem any opposition waived, treat the Motion as conceded, and issue an order(s) granting the relief
requested.

          PLEASE TAKE FURTHER NOTICE that in connection with the Debtors’ Chapter 11 Cases, a
Supplemental Order Establishing Certain Notice, Case Management and Administrative Procedures
[Docket No. 6208] (the “Case Management Order”) was entered by the Court on December 30, 2009,
which, among other things, prescribes the manner in which objections must be filed and served and when
hearings will be conducted. A copy of the Case Management Order may be obtained for a fee via PACER
at http://www.vaeb.uscourts.gov.

1
 The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identifications numbers, are as follows: Circuit
City Stores, Inc. (3875), Circuit City Stores West Coast, Inc. (0785), InterTAN, Inc. (0875), Ventoux International, Inc. (1838), Circuit City
Purchasing Company, LLC (5170), CC Aviation, LLC (0841), CC Distribution Company of Virginia, Inc. (2821), Circuit City Properties, LLC
(3353), Kinzer Technology, LLC (2157), Abbott Advertising Agency, Inc. (4659), Patapsco Designs, Inc. (6796), Sky Venture Corp. (0311), Prahs,
Inc. (n/a), XSStuff, LLC (9263), Mayland MN, LLC (6116), Courchevel, LLC (n/a), Orbyx Electronics, LLC (3360), and Circuit City Stores PR,
LLC (5512).
Case 08-35653-KRH           Doc 14234 Filed 10/11/19 Entered 10/11/19 13:51:13                     Desc
                                Main Document    Page 2 of 2



        PLEASE TAKE FURTHER NOTICE that on November 21, 2019 at 11:00 a.m. (or such time
thereafter as the matter may be heard) the undersigned will appear before The Honorable Kevin R.
Huennekens, United States Bankruptcy Judge, in Room 5000, of the United States Courthouse, 701 E.
Broad Street Richmond, Virginia 23219, and will move the Court for entry of an order(s) approving the
Motion.

        If you do not want the Court to grant the relief, or if you want the Court to consider your views,
then within seven (7) days before the hearing date you or your attorney must:

                File with the Court, at the address shown below, a written response with supporting
                memorandum pursuant to Local Bankruptcy Rule 9013-1 and the Case Management Order.
                You must mail or otherwise file it early enough so the Court will receive it on or before
                the due date identified herein.

                        Clerk of the Court
                        United States Bankruptcy Court
                        701 E. Broad Street, Suite 4000
                        Richmond, VA 23219

                You must also serve a copy on the undersigned.

PLEASE GOVERN YOURSELVES ACCORDINGLY.

Dated: October 11, 2019                         /s/ Lynn L. Tavenner
                                                Lynn L. Tavenner, Esq. (VA Bar No. 30083)
                                                Paula S. Beran, Esq. (VA Bar No. 34679)
                                                TAVENNER & BERAN, PLC
                                                20 North Eighth Street, 2nd Floor
                                                Richmond, Virginia 23219
                                                Telephone: (804) 783-8300
                                                Telecopy: (804) 783-0178
                                                Email: ltavenner@tb-lawfirm.com
                                                        pberan@tb-lawfirm.com

                                                and
                                                Richard M. Pachulski, Esq.
                                                Andrew W. Caine, Esq.
                                                (admitted pro hac vice)
                                                PACHULSKI STANG ZIEHL & JONES LLP
                                                10100 Santa Monica Boulevard, 13th Floor
                                                Los Angeles, California 90067-4100
                                                Telephone: (310) 277-6910
                                                Telecopy: (310) 201-0760
                                                E-mail: rpachulski@pszjlaw.com
                                                        acaine@pszjlaw.com

                                                Counsel for the Circuit City Stores, Inc.
                                                Liquidating Trust




                                                    2
